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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                               NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY,
 and THE PROCTER & GAMBLE
 DISTRIBUTING COMPANY,
          Plaintiffs,                            MEMORANDUM DECISION AND
                                                 ORDER DENYING DEFENDANTS’
                                                 MOTION FOR SUMMARY
                                                 JUDGMENT ON DAMAGES


                  vs.


 RANDY L. HAUGEN, et al.,                        Case No. 1:95-CV-94 TS
          Defendants.




      This matter is before the Court on Defendants’ Motion for Summary Judgment on

the damages element of Plaintiffs’ Lanham Act claim. The background of this case is

briefly recounted in the Court’s recent Memorandum Decision1 on the Lanham Act motions

and need not be repeated herein.

      Plaintiffs (collectively P & G) bring a claim for violation of the Lanham Act.

Defendants move for summary judgment on damages on the following grounds: (1) P &

G has no evidence to prove that Defendants’ conduct proximately caused P & G’s


      1
          Docket No. 983.

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damages; (2) P & G has not suffered any damages; (3) P & G is not entitled to an award

of Defendants’ profits; and (4) P & G is not entitled to an award of remediation damages.

       “Summary judgment is proper only if there is no genuine issue of material fact for

determination, and the moving party is entitled to judgment as a matter of law.”2 The Court

reviews “the entire record on summary judgment . . . in the light most favorable to the party

opposing summary judgment.”3 “As to materiality, the substantive law will identify which

facts are material. Only disputes over facts that might affect the outcome of the suit under

the governing law will properly preclude the entry of summary judgment. Factual disputes

that are irrelevant or unnecessary will not be counted.”4

       Defendants generally argue that P & G has no evidence of damages and

specifically argue on such issues as evidence of actual damages, proximate cause,

willfulness, Defendants’ profits, and other alleged tortfeasors. P & G contends that it has

presented sufficient evidence and that Defendants’ arguments misstate the burdens of

proof for damages under the Lanham Act.

       The Court finds that P & G has shown issues of fact regarding the Amvox Messages

and damages, including the issue of wilfulness, an award of Defendants’ profits, and P &

G’s own alleged lost profits and remediation costs. The Court further finds that all of the

specific arguments Defendants use to challenge P & G’s proffered evidence are factual

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       Durham v. Herbert Olbrich GMBH & Co., 404 F.3d 1249, 1250 (10th Cir. 2005)
(quoting Riley v. Brown & Root, Inc., 896 F.2d 474, 476 (10th Cir. 1990)).
       3
           Id.
       4
      Bartell v. Aurora Public Schools, 263 F.3d 1143, 1146 (10th Cir. 2001) (quoting
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

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matters to be considered by the jury in reaching its verdict. As the Court noted in Western

Diversity, “when considering a summary judgment motion, a court does not weigh the

evidence except, of course, for the very unusual situation when all the equities are

indisputably on one side.”5 This is not such a case.

       Based upon the foregoing it is therefore

       ORDERED that Defendants’ Motion for Summary Judgment on Damages (Docket

No. 923) is DENIED.

       DATED February 8, 2007.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




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       Western Diversified Services v. Hyundai Motor America, 427 F.3d 1269, 1273
(10th Cir. 2005).

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